UNITED STATES DISTRICT COURT FOR THE Af Kf a 7 2p
WESTERN DISTRICT OF NORTH CAROLINA eS.
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CHARLOTTE DIVISION fay iste, :

ep URE
CASE NO, 3:15-cr-00047-RJC-DCK-1

UNITED STATES OF AMERICA
v.
DAVID HOWELL PETRAEUS,

Defendant.

MEMORANDUM IN SUPPORT OF MOTION OF THE REPORTERS COMMITTEE
FOR FREEDOM OF THE PRESS, THE ASSOCTATED PRESS, BLOOMBERG L.P.,
THE CHARLOTTE OBSERVER PUBLISHING COMPANY,

DOW JONES & COMPANY, INC., FIRST LOOK MEDIA, INC.,
NATIONAL PUBLIC RADIO, INC., THE NEW YORK TIMES COMPANY,
AND THE WASHINGTON POST TO INTERVENE AND UNSEAL

The Reporters Committee for Freedom of the Press, The Associated Press, Bloomberg
L.P., The Charlotte Observer Publishing Company, Dow Jones & Company, Inc., First Look
Media, Inc., National Public Radio, Inc., The New York Times Company, and The Washington
Post (collectively, the “News Media Interyenors”) hereby submit this Memorandum in support of
their motion to intervene in the above-captioned matter for the limited purpose of seeking an
order unsealing (1) the Sentencing Memorandum and attachments thereto filed under seal by
counsel for David Howeil Petraeus (“Defendant” or “Petraeus”) on April 15, 2015 (ECF No. 17)
and (2) any statements or letters of support submitted to the Court on behalf of Defendant in

connection with his sentencing.

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BACKGROUND

Petraeus was the Director of the Central Intelligence Agency (“CIA”) until his
resignation in November 2012, On March 3, 2015, Petraeus was charged in this Court in
connection with alleged unauthorized disclosures of classified material, On April 23, 2015,
Petraeus pleaded guilty to unlawfully removing and retaining classified materials at unauthorized
locations, and was sentenced in open court. Although Petraeus’s sentencing proceeding was
public, the Sentencing Memorandum he filed, as well as letters submitted to the Court in support

of Defendant in connection with his sentencing, are under seal and unavailable to the public.'

Because Petraeus served as a high-ranking government official, and pleaded guilty to a
charge involving the mishandling of classified information, the public has an especially strong
interest in obtaining a full understanding of the circumstances surrounding his prosecution, guilty
plea, and sentence. Indeed, the prosecution and outcome of Petraeus’s case has gamered
significant attention from the press and the public.” Moreover, in other, similar prosecutions of
defendants who have pleaded guilty to charges relating to alleged leaks of classified information,

the sentencing memoranda are public. See, e.g., United States v. Kim, No. 1:10-cr-00225

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During Defendant’s sentencing hearing, the Court reportedly cited letters submitted in
connection with that proceeding that “paint a portrait of a man considered among the finest
military leaders of his generation who also has committed a grave but very uncharacteristic error
in judgment.” Ken Otterbourg & Andrew Grossman, Gen. David Petraeus Avoids Jail Time, to
Pay $100,000 Fine, The Wall Street Journal (Apr. 23, 2015, 6:06 P.M.), http://goo.gl49N60G.
Thirty-four letters were reportedly submitted from “high-level political leaders, heads of state,
and military personnel in support” of Defendant. Elizabeth Chuck & Terry Pickard, Ex-CIA
Director David Petraeus Gets Probation, Fine for Leaking Secrets, NBC News (Apr. 23, 2015,
11:19 A.M.), bttp://goo.g1/3FSF1Z.

? See, e.g., Michael 8S. Schmidt & Matt Apuzzo, David Petraeus Is Sentenced to Probation in
Leak Investigation, N.Y. Times (Apr. 23, 2015), http://nyti.ms/1OOV3R3; Justin Wm. Moyer,
Gen, David Petraeus; From hero to zero, Washington Post (Apr. 24, 2015, 3:44 A.M),
http://Awapo.st/Ida7RGg; Mitch Weiss, Petraeus sentenced to 2 years’ probation for military
leak, Associated Press (Apr, 23, 2015), news. yahoo.com/ex-cia-chief-sentenced-leaking-
military-secrets-083343076, html.

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(D.D.C. filed Mar. 24, 2014), ECF Nos, 285 and 286; United States v. Kiriakou, No. 1:12-cr-127
(E.D. Va. filed Jan. 18, 2013), ECF Nos. 124 and 126. And access to those documents, which
reflect the parties’ arguments for and against leniency in sentencing, have enabled the public to
evaluate prosecutors’ and the courts’ handling of those cases that implicate national security
concerns, a matter of the utmost public interest. Petraeus’s Sentencing Memorandum and the

letters submitted to the Court in connection with his sentencing should, likewise, be public.

ARGUMENT

I. Openness is a bedrock principle of the American criminal justice system.

For centuries, openness has been “an indispensable attribute” of the criminal trial.
Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 569 (1980), As the Supreme Court has
Tecognized, secrecy breeds “distrust” of the judiciary and its ability to adjudicate matters fairly.
Sheppard v. Maxwell, 384 U.S. 333, 349 (1966). The benefits of an open and transparent
criminal justice system are manifold, both to the defendant and the public. Openness gives
“assurance that the proceedings [are] conducted fairly to all concerned, and it discourage[s]
perjury, the misconduct of participants, and decisions based on secret bias or partiality.”
Richmond Newspapers, 448 U.S. at 569; see also Company Doe v. Pub. Citizen, 749 F.3d 246,
266 (4th Cir, 2014) (“Public access serves to promote trustworthiness of the judicial process, to
curb judicial abuses, and to provide the public with a more complete understanding of the
judicial system, including a better perception of fairness.”) (quoting Littlejohn vy. Bic Corp., 851
F.2d 673, 682 (3d Cir. 1988)).

The nexus between openness and fairness in criminal proceedings and the role of the
press is well-established. “A responsible press has always been regarded the handmaiden of

effective judicial administration, especially in the criminal field. ... The press does not simply

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publish information about trials but guards against the miscarriage of justice by subjecting the
police, prosecutors, and judicial processes to extensive public scrutiny and criticism.” Sheppard,
384 U.S, at 350 (internal quotation marks and citations omitted). Indeed, as the U.S. Supreme
Court has recognized, the media serves an important role in facilitating public scrutiny of judicial
processes. See Richmond Newspapers, 448 U.S. at 572-73 (“Instead of acquiring information
about trials by firsthand observation or by word of mouth from those who attended, people now
acquire it chiefly through the print and electronic media. ...}. Thus, while “media

representatives enjoy the same right of access as the public,” they “function[] as surrogates for

the public” by attending court proceedings, reviewing court documents, and reporting on what
has transpired. /d.

Il. The press and the public have a constitutional and common law right to access
sentencing memoranda and sentencing letters.

The First Amendment guarantees the press and the public a presumptive right of access to
criminal trials, as well as other pre- and post-trial documents and court proceedings, Richmond
Newspapers, 448 U.S, at 580-81. While not absolute, that constitutional presumption of
openness may be overcome “only by an overriding interest based on findings that closure is
essential to preserve higher values and is narrowly tailored to serve that interest,” Press-Enter,
Co. v, Superior Court, 464 U.S. 501, 510 (1984) (“Press-Enterprise I’) (emphasis added); see
also In re Charlotte Observer, 882 F.2d 850, 853 (4th Cir. 1989) (reversing trial court order
closing change of venue hearing and sealing documents related thereto). In addition to the
presumptive right of access guaranteed by the First Amendment, the common law provides a
right to access court documents that play a role in the “adjudicatory process.” Nixon v. Warner

Comme ’ns, Ine. 435 U.S. 589, 597-98 (1978),

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The presumption of access to criminal proceedings guaranteed by the First Amendment
applies to sentencing hearings and documents filed in connection therewith. See Jn re
Washington Post Co., 807 F.2d 383, 390 (4th Cir. 1986) (“we hold that the First Amendment
tight of access applies to documents filed in connection with plea hearings and sentencing
hearings in criminal cases, as well as to the hearings themselves”); In re Time Inc,, 182 F.3d 270,
271 (4th Cir, 1999) (stating that the First Amendment right of access applies to “sentencing
hearings and to documents filed in connection with such hearings”); see also In re Hearst

Newspapers, L.L.C., 641 F.3d 168, 176 (Sth Cir. 2011) (stating that “courts of appeals have also

recognized a First Amendment right of access to documents filed for use in sentencing
proceedings,” and citing cases from the Second, Ninth, Eleventh, and D.C. Circuits). This
‘includes sentencing memoranda submitted by prosecutors and defendants. /d. Indeed, courts
“consistently hold that sentencing memoranda should not be kept under seal,” and evaluate the
public’s right to access those documents by applying First Amendment standards. United States
v. Taylor, No. 5:07-cr-00123, 2008 WL 161900, at *1 (S.D.W. Va. Jan. 15, 2008) (holding that
First Amendment right of access applied to sentencing memoranda, and noting that sentencing
memoranda “do not contain the type of information that typically outweighs the public’s right of
access”); see also, ¢.g., United States v. Fretz, No, 7:02-cr-67-1-F, 2012 WL 1655412, at *3~—*4
(E.D.N.C. May 10, 2012) (granting a motion to intervene and unsealing a motion for downward
departure, a motion for reduction of sentence, and a motion to amend a sentence, on First
Amendment grounds); United States v. Dare, 568 F. Supp. 2d 242, 244 (N.D.N.Y, 2008) (“It 1s
well-reco enized that the public has a strong right to sentencing memoranda under the First

Amendment.”).

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The Fourth Circuit has never explicitly addressed whether there is a First Amendment
right of access to letters submitted to the court for use in sentencing. U.S. Supreme Court and
Fourth Circuit precedent, however, indicates that the constitutional presumption of access should
apply to such letters, which are submitted in connection with a traditionally public process—a
criminal defendant’ s sentencing—and shed light on the court’s decision-making process as it
relates to what sentence should be imposed upon the defendant. See In re Washington Post, 807
F.2d at 388-90 (holding a First Amendment right applies to documents related to sentencing);

see also Company Doe, 749 F.3d at 265 (stating that it is “well settled that the public and press

have a qualified right of access to judicial documents and records filed in civil and criminal
proceedings”); United States v. Chanthaboury, No. 2:12-cr-00188-GEB, 2013 WL 6404989, at
*1 (E.D. Cal. Dec. 6, 2013) (stating that the First Amendment right of access applies to
sentencing proceedings and related materials submitted to the court, including “‘letters submitted
in support of the defendant’s sentencing submissions’*”) (quoting United States v. King, No. 10-
cr-122 (JGK), 2012 WL 2196674, at *1 (S.D.N.Y. June 15, 2012))2
Moreover, the common law right of access also applies to sentencing letters because they
are “judicial records” that, like sentencing memoranda, plainly “play a role in the adjudicative
process, ...” Ja re Application of the U.S. for an Order Pursuant to I8 USC. Section 2703 (D),
707 F.2d 283, 290 (4th Cir. 2013); see also Cochran v. Volvo Grp, N.A., LLC, 931 F. Supp. 2d

725, 728 (M.D.N.C. 2013) (finding a common law right of access attaches to documents “relied

> In determining whether a First Amendment right of access attaches, courts consider “whether

the place and process” at issue “have historically been open to the press and general public,” as
well as “whether public access plays a significant positive role in the functioning of the
particular process in question,” Press-Enter, Co, v. Superior Court, 478 U.S. 1, 8 (1986)
(“Press-Enterprise If), Both “experience and logic” dictate that letters submitted in connection
with a criminal defendant’s sentencing proceeding are presumptively open to the public as a
constitutional matter, Id.; see also Inre Washington Post, 807 F.2d at 388-90,

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upon or considered by the Court”); see also United States v. Amodeo, 44 F.3d 141, 145 (2d Cir.
1995) (holding that a common law right of access applies to documents “relevant to the
performance of the judicial function and nseful in the judicial process”). Indeed, other federal
courts have expressly held that sentencing letters are judicial records to which the press and the
public have a right to access under common law. See United States v, Kravetz, 706 F.3d 47, 58
(ist Cir. 2013) (holding a presumptive right of access applies to both “letters annexed to the
parties’ sentencing submissions” and “letters sent directly to the court by third parties”); United

States v. Byrd, 11 ¥. Supp. 3d 1144, 1149 (S.D. Ala. 2014) (sentencing letters “are judicial

records that are subject to the public right of access set forth in the common law”); United States
y. Tangorra, 542 F. Supp. 2d 233, 237 (E.D.N.Y. 2008) (finding a common law right of access to
sentencing letters, and stating that “documents submitted by the Defendants to aid the court in
the judicial function of sentencing” are presumptively open to the public, even when the court
does “not rely on the documents in reaching its sentencing decision”).

In short, the First Amendment and common law both provide a right of access to
sentencing memoranda and sentencing letters and, accordingly, these documents may only be
sealed in limited circumstances. Where the First Amendment guarantees a right of access,
documents may be sealed only when “necessitated by a compelling government interest,” and
any sealing order entered must be “narrowly tailored to serve that interest.” fn re Time Inc., 182
F.3d at 271 (quotation marks omitted); see also In re Washington Post, 807 F.2d at 390 (stating
that documents subject to a First Amendment right of access may be sealed only if withholding is

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“essential to preserve higher values and is narrowly tailored to serve that interest’”’”) (quoting
Press-Enterprise I, 464 U.S, at 510). Under common law, the presumption of access may be

overcome only where a court finds “a ‘significant countervailing interest’ in support of sealing

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that outweighs the public’s interest in openness,” /n re Application of the US., 707 F.2d at 293
(quoting Under Seal v. Under Seal, 326 F.3d 479, 486 (4th Cir. 2003)). In conducting the
common law analysis, a court may consider (1) “whether the records are sought for improper
purposes,” (2) “whether release would enhance the public’s understanding of an important
historical event,” and (3) “whether the public has already had access to the information contained
in the records.” fd. (quoting fn re Knight Publ’g Co., 743 F.2d 231, 235 (4th Cir. 1984)).

Ill, Defendant’s Sentencing Memorandum and the sentencing letters submitted to the
Court should be unsealed.

The Sentencing Memorandum and sentencing letters submitted to the Court should be

unsealed because no sufficiently weighty interests overcome the First Amendment and common
law presumptions of access that apply to those documents. In determining whether the sealing of
a document is justified, courts in this Circuit “must follow the procedures established in Jn re
Charlotte Observer.” In re Washington Post, 807 F.2d at 390 (stating that “the same procedures
are required for the evaluation of both common-law and First Amendment access claims”).
Specifically, the court must (1) provide public notice that the sealing of documents may be
ordered, (2) provide interested persons an opportunity to object before sealing is ordered, (3)
state the reasons, supported by specific findings, for any decision to seal documents, and (4) state
why it rejected alternatives to sealing. /d. (citing In re Charlotte Observer, 882 F.2d at 853).

Here, Defendant’s Sentencing Memorandum was filed under seal, and the sentencing
letters sealed or otherwise withheld from the public, without any sealing order having been
entered, and without the Court having conducted the analysis required by the First Amendment
and common law. Thus, to date, neither the Court nor the parties have identified any interest that
would justify keeping these documents shielded from public view. Given the public’s:

constitutional right of access to the Sentencing Memorandum and the sentencing letters, absent

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judicial findings that their sealing is “essential” to serve a “compelling government interest,” the
seal cannot be maintained. And, even if the Court were to identify a “compelling government
interest” that requires some portion of the Sentencing Memorandum, the attachments thereto, or
the sentencing letters, to remain under seal, such sealing should be no broader than necessary to
serve that interest, Jn re Time Inc., 182 F.3d at 271, and redacted versions of those documents
should be unsealed forthwith. * Likewise, in light of the public’s strong interest in openness in
this case, there is no countervailing interest that can overcome the common law presumption of

access, in re Application of the U.S., 707 F.2d at 293.

The public has a particularly powerful interest in obtaining access to the Sentencing
Memorandum and the sentencing letters at issue here. The prosecution of Defendant, a four-star
general and former head of the CIA who served at the highest levels of the U.S. government, for
mishandling classified information is a matter of serious public concern, and much has already
been reported to the public about his prosecution, plea agreement, and sentencing. Defendant’s
sentencing hearing was held in open court, with members of the public and media in attendance,
and access to the Sentencing Memorandum, as well as the sentencing letters, submitted in

connection with that hearing will enhance the public’s understanding of what transpired,

* To the extent Defendant interprets Local Criminal Rule 55.1(H) to permit the wholesale

sealing of sentencing memoranda without a court order supported by judicial findings justifying
sealing, it misreads that rule, and ignores the requirements of I re Charlotte Observer. Local
Criminal Rule 55.1 states, in pertinent part, that “[a]ll portions of pleadings, motions and
objections which incorporate or refer to a defendant’s pre-sentence report shall, if filed, be filed
under seal, No motion to seal shall be required for such materials.” L, Crim. R, 55,1(H).
Sentencing memoranda are distinct from presentence investigation reports. See United States v.
Hargrove, 701 F.3d 156, 164 (4th Cir. 2012) (referring to presentence reports and sentencing
memoranda separately); see also United States y. Inserra, No. 88-CR-104, 1990 WL 101055, at
*1 (N.D.N.Y, July 16, 1990) (“As counsel are aware, presentence investigation reports are
created by an arm of the court, the probation department, and sentencing memoranda are written
by counsel... .”). And Local Criminal Rule 55.1, on its face, does not pre-authorize the sealing
of all sentencing memoranda in their entirety. Indeed, for the reasons set forth herein, any such
tule would not pass constitutional muster.

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including the sentence that was ultimately imposed by this Court. Moreover, the public has a
heightened interest in access to the sentencing letters because they were reportedly written by
current and former high-level public officials, which weighs heavily in favor of public
disclosure. See United States v. Gotti, 322 F. Supp. 2d 230, 251 (E.D.N.Y. 2004) (stating that
“l1Jetters received by public officials seeking to use their offices to impact a sentence will

invariably be disclosed”),

CONCLUSION

For these reasons, the News Media Intervenors respectfully request that the Court grant

their motion to intervene and unseal, and that it enter an order immediately unsealing the
Sentencing Memorandum and attachments thereto filed by Defendant, as well as the letters
submitted to the Court in connection with Defendant's sentencing.

This the 27" day of April, 2015,

Respectfully submitted,

s/ Jorathan E. Buchan

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CERTIFICATE OF SERVICE

I hereby certify that the foregoing Memorandum in Support of Motion of the Reporters
Committee for Freedom of the Press, The Associated Press, Bloomberg L.P., The Charlotte
Observer Publishing Company, Dow Jones & Company, Inc., First Look Media, Inc., National
Public Radio, Inc., The New York Times Company and The Washington Post to Intervene and
Unseal was filed with the Clerk of Court and served via email and U.S. Mail on counsel for all

parties, as set forth below.

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This the 27th day of April, 2015.

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